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  Altersv.PeoplesRepublicofChina(1:20-cv-21108)DistrictCourt,S.D.FloridaJudgeU Alk                                   D.C.
  Federalcourt-400 North M iam iAvenue -Room 12-4 -M iam i,Florida 33128
  M ovantDavid Andrew Christenson                                                               rp
  August315t# 2020                                                                             9,, q zggg
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                                           ThisiswhoIfi
                                                      ghtfor(Pictureattached):Jarnaic
                                                 theirnew babyson

  He worksasa cook.She isan AnMelthathastaken care ofmyw ife's parents.Shetookcare ofmyw ife's
  fatherwho had Alzheim er'sand my wife'smotherw ho hasdim inished m entaland physicalcapabilities.

  Attorney W illiam 0.Tem pletdied Iastyear.He wasasmall-tow n attorney thatnevercharged more than
  $60.00 perhour.HewasapridefulmanbutattheendofhisIife hecouldn'tcontrolhisbodilyfunctions.
  He deserved to be taken care by anAngel.

  lconsideritan honorto fightforthem and theirfutures.

  Forherbabyshowershe wanted diapers.Icouldn'tbuy herdiapersso Igothera gi    ftcard.ThefirstgiftI
  gotforthem wasone ofthree so Ireturned itperherrequest.They don'thave money and have been
  working Iim ited schedulesbecause ofthe Pandem ic.Idon'tknow how they paytheirrent.Iknow they
  send m oney backto Jam aica,where thingsare worse because ofthe pandem ic.

  Ihopethere isa heaven.

  The picture wastaken today - M onday August31St,2020.AslIookatGod'sm iracle,Istartto wonder
  abouthow hewilldie.HisIifehasjuststarted.

  Preumble:''andsecuretheBlessingsojLibertytoourselvesundourPosterity''
  Godspeed

  Sinçer I,                                -..


  David n        ristenson
  Box 9063
  M iramarBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ gmail.com;
  dchristenson6@ hotmail.com;

                                            C       ICATE OFSERVICE

         Iherebycertifythat Au st3 ,                  Ifiled theforegoing with the Clerk ofCourtand
               served the p ad' on' c                         or y e-m ailand first-classm ail.


                                           David Andrew Christenson
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